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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
MONIQUE DAVIS,                            )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                Case No. 19-cv-660 (APM)
                                          )
WASHINGTON METROPOLITAN                   )
AREA TRANSIT AUTHORITY                    )
                                          )
      Defendant.                          )
_________________________________________ )

                                      VERDICT FORM


   1. Do you find by a preponderance of the evidence that WMATA’s driver was negligent?
                             _____ Yes             _____ No


(If your answer to Question 1 is “No”, your job is completed. Have your foreperson sign this
Verdict Form at the bottom of the last page. If your answer to Question 1 is “Yes,” proceed to
Question 2.)


   2. Do you find by a preponderance of the evidence that the WMATA’s driver’s negligence
       caused Ms. Davis harm?


                             _____ Yes             _____ No


(If your answer to Question 2 is “No”, your job is completed. Have your foreperson sign this
Verdict Form at the bottom of the last page. If your answer to Question 2 is “Yes,” proceed to
Question 3.)
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   3. What amount of damages, if any, is your verdict for Ms. Davis for:

      Medical Bills                        ________________

      Lost Wages                           ________________

      Non-economic Damages                 ________________


      TOTAL                                ________________




_____________________________                            _____________________________

             DATE                                                FOREPERSON
